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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------- x
 UNITED STATES OF AMERICA,                                             :     COMPLAINT
                                                                       :
                   Plaintiff,                                          :
                                                                       :     24 Civ. _____
                   v.                                                  :
                                                                       :
 TOLL BROTHERS, INC.; TOLL BROTHERS                                    :
 REALTY TRUST; TOLL LAND XIII                                          :
 LIMITED PARTNER; GREENBERG FARROW                                     :
 ARCHITECTURE, INC.; LENDLEASE (US)                                    :
 CONSTRUCTION LMB, INC. F/K/A BOVIS LEND                               :
 LEASE LMB, INC.; TOLL NORTHEAST LP                                    :
 COMPANY, INC.; TB PRINCETON VILLAGE LLC, :
 AND TB-BDN PLYMOUTH APARTMENTS,                                       :
                                                                       :
                   Defendants, and                                     :
                                                                       :
 NORTH8 CONDOMINIUM ASSOCIATION, INC.,                                 :
                                                                       :
                   as a Rule 19 Defendant.                             :
 --------------------------------------------------------------------- x


        Plaintiff the United States of America (the “United States”) alleges as follows:

        1.       This action is brought by the United States to enforce the Fair Housing Act, as

amended by the Fair Housing Amendments Act of 1988 (the “Fair Housing Act” or the “FHA”), 42

U.S.C. §§ 3601-3619.
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       2.      As set forth below, the United States alleges that defendants have unlawfully

discriminated against persons with disabilities under the FHA by failing to design and construct

multifamily buildings and associated places of public accommodation so as to be accessible to

persons with disabilities.

                                       JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345 and 42

U.S.C. §§ 3612(o) and 3614(a).

       4.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c) because a substantial part of

the events or omissions giving rise to the claims asserted in this action arose in this District, and

because one or more properties that are the subject of this action are located in this District.

Additionally, defendant Toll Brothers Inc. transacts business in this district, and residents of this

District were among the prospective purchasers of condominiums in 49 North 8th Street, Brooklyn,

New York 11211 (“North 8th”), and/or prospective renters at 3000 Goldfinch Boulevard in Princeton,

New Jersey (“Parc at Princeton Junction”), and/or 134 Plymouth Road in Plymouth Meeting,

Pennsylvania (“Parc Plymouth Meeting”).

                                           THE DEFENDANTS

       5.      Defendant Toll Brothers, Inc., directly and/or acting through affiliates, subsidiaries, or

entities that it owns and/or controls (“Toll Brothers”), is a Delaware corporation based in

Pennsylvania. Toll Brothers, directly or through affiliates, subsidiaries, or entities that it owns and/or

controls, has been involved in real estate development since in or about 1967. Toll Brothers also does

business as Toll Brothers City Living, a division of and brand name for Toll Brothers that focuses on

the development of housing in urban areas, and as Toll Brothers Apartment Living, a division of and

brand name for Toll Brothers that focuses on the development of rental properties. Toll Brothers was




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the developer of each of the multifamily buildings identified in this complaint, and in that capacity,

participated in the design and construction of those buildings.

       6.      Defendant Toll Brothers Realty Trust is an affiliate subsidiary of defendant Toll

Brothers that develops urban low-, mid-, and high-rise for-sale condominiums through Toll Brothers

City Living, and in that capacity, participated in the design and construction of each of the

multifamily buildings identified in this complaint.

       7.      Defendant Toll Land XIII Limited Partner is a limited partnership formed in the state

of New York, and was the landowner and title holder of North 8th from 2004 through the completion

of the construction in 2011, and in that capacity, participated in the design and construction of North

8th.

       8.      Defendant GreenbergFarrow Architecture, Inc. (“GreenbergFarrow”) is incorporated

in the state of Georgia and provides architecture, planning, engineering, and development services

related to the development of residential housing, including for many projects in this District, and has

worked on numerous projects with Toll Brothers. GreenbergFarrow was the architecture firm that

drew the architectural plans for the site, the public and common use areas, and the units of North 8th,

and in that capacity, participated in the design and construction of North 8th.

       9.      Defendant Lendlease (US) Construction LMB, Inc., f/k/a Bovis Lend Lease LMB, Inc.

(“Lendlease LMB”) is incorporated in New York and provides construction management services.

Lendlease LMB was the construction manager for North 8th, and in that capacity, participated in

construction of North 8th.

       10.     51 N. 8th Street, L.P. was a limited partnership formed in New York and is an indirect

wholly owned subsidiary of defendant Toll Brothers. 51 N. 8th Street, L.P. developed North 8th, and

had ownership of the condominium units until they were sold, and in that capacity, participated in the




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design and construction of North 8th. In 2016, this entity merged into Toll Northeast LP Company,

Inc.

          11.     Defendant TB Princeton Village developed the Parc at Princeton Junction and, as the

developer, participated in the design and construction of this multifamily property.

          12.     Defendant TB-BDN Plymouth Apartments developed the Parc Plymouth Meeting and,

as the developer, participated in the design and construction of this multifamily property.

          .

                                            THE RULE 19 DEFENDANT

          13.     Defendant North8 Condominium Association, Inc. is the condominium association for

North 8th and has control over the common areas of North 8th. North8 Condominium Association,

Inc. is a Rule 19 defendant in this action because its participation is necessary to ensure complete

relief.

              INACCESSIBLE CONDITIONS IN TOLL BROTHERS’ MULTIFAMILY BUILDINGS

          14.     Toll Brothers has designed numerous multifamily buildings for first occupancy after

March 13, 1991, including 959 First Avenue, New York, New York 10022 (“The Sutton”), 49 North

8th Street, Brooklyn, New York 11211 (“North 8th”), 3000 Goldfinch Boulevard in Princeton, New

Jersey (“Parc at Princeton Junction”), and 134 Plymouth Road in Plymouth Meeting, Pennsylvania

(“Parc Plymouth Meeting”), and 10 Provost Street, Jersey City, New Jersey 07302 (“10 Provost”)

(together, the “Inspected Properties”). Inspections of each building found them to be inaccessible to

persons with disabilities.

          15.     The Sutton consists of a tower with elevator access and contains 90 dwelling units, as

well as public and common use areas that include a resident lounge, fitness room, courtyard, and

children’s room.




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       16.     North 8th consists of a tower with elevator access and contains 40 dwelling units, as

well as public and common use areas that include a courtyard, garage, and fitness room.

       17.     Parc at Princeton Junction is a 232-unit, four-floor development. It was constructed in

2018 and has nine (9) buildings. The property has a leasing office and common use area inside the

main building. The exterior contains a pool, a community center with a gym, and parking.

       18.     Parc Plymouth Meeting is a 398-unit, four-floor development. It was constructed in

2015 and has seven (7) buildings; some of the buildings have elevators. The property has a leasing

office and common use area inside the main building. The exterior contains a pool and parking.

Garage parking is also available.

       19.     10 Provost consists of a tower with elevator access and contains 242 dwelling units, as

well as public and common use areas that include a plaza, resident lounge, laundry room, party room,

fitness room, roof terrace, pet space, and sky lounge.

       20.     The Inspected Properties are all multifamily buildings with elevator access; and the

units in those complexes are “dwellings” within the meaning of 42 U.S.C. § 3602(b) and “dwelling

units” within the meaning of 24 C.F.R. § 100.21.

       21.     Each of the Inspected Properties were designed and constructed for first occupancy

after March 13, 1991. Thus, the dwelling units at those complexes are “covered multifamily

dwellings” within the meaning of 42 U.S.C. § 3604(f)(7) and 24 C.F.R. § 100.21, and all three

complexes are subject to the accessibility requirements of 42 U.S.C. § 3604(f)(3)(C) and 24 C.F.R. §

100.205(a), (c).

       22.     Although Toll Brothers was required to comply with the FHA’s accessible design and

construction requirements in developing multifamily complexes like The Sutton, North 8th, Parc at

Princeton Junction, Parc Plymouth Meeting, and 10 Provost, it has consistently failed to do so.




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       23.     The Sutton, which Toll Brothers designed and constructed in 2016, is inaccessible to

persons with disabilities.

       24.     For instance, Toll Brothers designed and constructed The Sutton with the following

inaccessible features, including but not limited to:

               a.      The ramp for the residential service entrance is not accessible to persons
                       who use wheelchairs because it is excessively steep and is missing a
                       handrail.

               b.      The threshold at the residential service entrance is not accessible to persons
                       who use wheelchairs because it is too high.

               c.      The controls for the dryer in the laundry room are not accessible by persons
                       who use wheelchairs because they are too far from the front edge of the
                       dryer.

               d.      The residential lounge’s common-use sink is not accessible to persons who
                       use wheelchairs because it is too high.

               e.      The residential lounge lacks accessible seating at the bar for persons who
                       use wheelchairs because the seating does not have adequate wheelchair
                       space.

               f.      The fitness room’s call button is not accessible to persons who use
                       wheelchairs because it is too high.

               g.      The fitness room’s drinking fountain is not accessible by persons who use
                       wheelchairs because the knee space is not high enough.

               h.      The fitness room lacks accessible coat and mat hooks for persons who use
                       wheelchairs because the hooks are too high.

               i.      There is no accessible route to the courtyard for persons who use
                       wheelchairs because portions of the path are not paved.

               j.      The force required to operate the control for the trash chute in the trash
                       rooms interferes with accessibility for persons with certain disabilities.

               k.      The threshold at the entrance to the restroom in the children’s room
                       interferes with accessibility for persons who use wheelchairs because it is
                       excessively high.

               l.      The restrooms in the children’s room and in the cellar lack an accessible
                       circulation path and lack adequate clear floor space for maneuvering by
                       persons who use wheelchairs.


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               m.      The restroom lavatories in the children’s room and the cellar are not
                       accessible to persons who use wheelchairs because they are too close to the
                       sidewall and their grab bars are too close to the rear wall.

               n.      The emergency warning system is not accessible for persons with certain
                       disabilities because it lacks visual alarms.

               o.      Elevator jambs are missing floor identification signs with raised characters
                       for persons with visual impairments.

               p.      In individual units, the locations of thermostat controls make them
                       inaccessible to persons who use wheelchairs because they are too high.

               q.      In individual units, the thresholds to both bathrooms interfere with
                       accessible routes for persons who use wheelchairs because they are
                       excessively high.

               r.      In individual units, the lavatory in the master bathroom is not accessible to
                       persons who use wheelchairs because it excessively high and is too close to
                       the wall.

       25.     In light of the inaccessible conditions identified in paragraph 24, above, Toll Brothers

failed to design and construct The Sutton in accordance with the Fair Housing Act’s accessibility

requirements set out at 42 U.S.C. § 3604(f)(3)(C). In addition, Toll Brothers failed to comply with

applicable State and local design and construction provisions, including New York City Local Law 58,

in designing and constructing The Sutton.

       26.     North 8th, which defendants designed and constructed in 2006, is inaccessible to

persons with disabilities.

       27.     For instance, defendants designed and constructed North 8th with the following

inaccessible features, including but not limited to:

               a.      The running slope of the entrance to the building is not accessible to persons
                       who use wheelchairs because it is excessively steep.

               b.      The front entry to the building is not accessible to persons who use
                       wheelchairs because there is insufficient maneuvering space.

               c.      The intercom at the front entrance is inaccessible to persons who use
                       wheelchairs because it lacks adequate clear floor space, the space beneath
                       it is too steep, and its controls are located too high.


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     d.    Mailboxes are not accessible to persons who use wheelchairs because they
           are located too high.

     e.    The common-use restroom is not accessible to persons who use wheelchairs
           because the toilet is located in a space that is too narrow, the toilet controls
           are not accessible, and the mirrors are too high.

     f.    The entrance and exit doors to the fitness room are not accessible by persons
           who use wheelchairs because the door opens too quickly and the exit button
           is located behind exercise equipment.

     g.    The fitness room is inaccessible to persons who use wheelchairs because
           the fitness equipment interferes with an accessible route to equipment.

     h.    The garage lacks accessible parking spaces for persons who use wheelchairs
           because there is not enough vertical clearance space for van parking.

     i.    There is no accessible route through the garage for persons who use
           wheelchairs because there are impediments to a clear circulation path.

     j.    The door from the garage to the building is not accessible by persons who
           use wheelchairs because there is not sufficient maneuvering clearance.

     k.    The threshold to the trash room is not accessible to persons who use
           wheelchairs because it is too high.

     l.    The threshold to the courtyard is not accessible to persons who use
           wheelchairs because it is too high.

     m.    The door to the courtyard is not accessible to persons who use wheelchairs
           because it is too narrow.

     n.    The entrances to individual units are not accessible to persons who use
           wheelchairs because they are too narrow.

     o.    The thresholds at the entrances to individual units are not accessible for
           persons who use wheelchairs because they are too high.

     p.    In individual units, the kitchens are inaccessible by persons who use
           wheelchairs because they lack adequate clear floor space or sufficient
           turning radius or maneuvering space.

     q.    In individual units, the bathrooms are inaccessible by persons who use
           wheelchairs because they lack adequate clear floor space for maneuvering.

     r.    In individual units, the thresholds at the patio doors are not accessible to
           persons who use wheelchairs because they are too high.




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               s.      In individual units, the thresholds at the master bathroom are not accessible
                       to persons who use wheelchairs because they are too high.

               t.      In individual units, the electrical outlets in some rooms are inaccessible to
                       persons who use wheelchairs because they are not high enough from the
                       floor.

       28.     In light of the inaccessible conditions identified in paragraph 27, above, defendants

failed to design and construct North 8th in accordance with the Fair Housing Act’s accessibility

requirements set out at 42 U.S.C. § 3604(f)(3)(C). In addition, defendants failed to comply with

applicable State and local design and construction provisions, including New York City Local Law

58, in designing and constructing North 8th.

       29.     Parc at Princeton Junction, which Toll Brothers designed and constructed in 2018, is

inaccessible to people with disabilities.

       30.     For instance, Toll Brothers designed and constructed Parc at Princeton Junction with

the following inaccessible features, including but not limited to:

               a.      The running slope of the entrance to the building is not accessible to persons
                       who use wheelchairs because it is excessively steep.

               b.      The seating at the courtyard is not accessible to persons who use
                       wheelchairs because there is insufficient space for a forward approach.

               c.      Where future resident parking is provided, there is not a van accessible
                       space for persons who use wheelchairs.

               d.      There is no tactile or Braille signage mounted on the latch side of the doors
                       for the men’s and women’s multi-user toilet rooms.

               e.      In individual units, the bathrooms are inaccessible by persons who use
                       wheelchairs because they lack adequate clear floor space for maneuvering.



       31.     In light of the inaccessible conditions identified in paragraph 30, above, Toll Brothers

failed to design and construct Parc at Princeton Junction in accordance with the Fair Housing Act’s

accessibility requirements set out at 42 U.S.C. § 3604(f)(3)(C). In addition, Toll Brothers failed to



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comply with applicable State and local design and construction provisions, including the Uniform

Construction Code, Chapter 23 of Title 5 of the New Jersey Administrative Code, in designing and

constructing Parc at Princeton Junction.

       32.     Parc Plymouth Meeting, which Toll Brothers designed and constructed in 2015, is

inaccessible to people with disabilities.

       33.     For instance, Toll Brothers designed and constructed Parc Plymouth Meeting with the

following inaccessible features, including but not limited to:

               a.      The running slope of the entrance to the building is not accessible to persons
                       who use wheelchairs because it is excessively steep.

               b.      The front entrances to Buildings 6 and 7 are not accessible to persons who
                       use wheelchairs because the handrail extensions on the ramp do not extend
                       12” in the direction of travel, and/or the landing at the bottom of the ramp
                       is too narrow.

               c.      The parking spaces designated for people with disabilities are not in fact
                       accessible because their slopes are too steep.

               d.      The clubhouse kitchen / lounge is inaccessible to persons who use
                       wheelchairs for mobility because the U-shaped kitchen lacks adequate
                       maneuvering space and the bar/counter is too high above the finished floor.

               e.      Mailboxes are not accessible to persons who use wheelchairs because they
                       are located too high.

               f.      The common-use restroom is not accessible to persons who use wheelchairs
                       because the toilet is located in a space that is too narrow, the flush valve is
                       not located on the open side of the toilet, and there is insufficient
                       maneuvering clearance on the latch pull side of the door.

               g.      The designated accessible route entrance to Building B5 is not in fact
                       accessible because at the elevator, there is a significant level change and
                       steps.

               h.      In individual units, the kitchens are inaccessible by persons who use
                       wheelchairs because they lack adequate clear floor space or sufficient
                       turning radius or maneuvering space.

               i.      In individual units, the bathrooms are inaccessible by persons who use
                       wheelchairs because they lack adequate clear floor space for maneuvering.



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               j.      In individual units, the thresholds at the balcony doors are not accessible to
                       persons who use wheelchairs because they are too high.

               k.      In individual units, thermostats in some rooms are inaccessible to persons
                       who use wheelchairs because they are too high from the floor.

       34.     In light of the inaccessible conditions identified in paragraph 33, above, Toll Brothers

failed to design and construct Parc Plymouth Meeting in accordance with the Fair Housing Act’s

accessibility requirements set out at 42 U.S.C. § 3604(f)(3)(C). In addition, Toll Brothers failed to

comply with applicable State and local design and construction provisions in designing and

constructing Parc Plymouth Meeting.

       35.     10 Provost, which Toll Brothers designed and constructed in 2018, is inaccessible to

persons with disabilities.

       36.     For instance, Toll Brothers designed and constructed 10 Provost with the following

inaccessible features, including but not limited to:

               a.      The plaza lacks accessible tables for persons who use wheelchairs because
                       the fixed tables do not have adequate knee space.

               b.      The force required to operate many common-use doors interferes with
                       accessibility for persons with certain disabilities.

               c.      The force required to operate the control for the trash chute in the trash
                       rooms interferes with accessibility for persons with certain disabilities.

               d.      Certain trash rooms lack adequate maneuvering space by persons who use
                       wheelchairs.

               e.      The faucet in the laundry room is not accessible to persons who use
                       wheelchairs because it is too high.

               f.      In the main lounge, the counter seating area is not accessible by persons
                       who use wheelchairs because the counter is too high.

               g.      In the party room, the counter seating area is not accessible by persons who
                       use wheelchairs because they are too deep to access the electrical
                       receptacles.

               h.      In common-use bathrooms, the baby changing tables are not accessible by
                       persons who use wheelchairs because they do not provide adequate knee


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            space, and the bathroom mirrors are too high.

      i.    The fitness room is not accessible by persons who use wheelchairs because
            it lacks an accessible route to the fitness equipment since it is too narrow.

      j.    The tables and counter seating space in common-use kitchens are not
            accessible by persons who use wheelchairs because they do not provide
            adequate knee space.

      k.    The threshold to the roof terrace is not accessible to persons who use
            wheelchairs because it is too high.

      l.    The tables on the roof terrace are not accessible by persons who use
            wheelchairs because they do not provide adequate knee space.

      m.    The controls for the fire pit, the controls for the grill, and the faucet near the
            grill on the roof terrace are not accessible by persons who use wheelchairs
            because the parts require tight grasping or pinching to operate or contain
            operable parts that are out of reach for wheelchair users.

      n.    The ramp to the pool deck is not accessible by persons who use wheelchairs
            because it is too steep and lacks an adequate intermediate landing when
            changing directions.

      o.    The threshold to the sky lounge is not accessible to persons who use
            wheelchairs because it is too high.

      p.    The tables in the sky lounge are not accessible by persons who use
            wheelchairs because they do not have adequate knee space.

      q.    The pet spa is not accessible to persons who use wheelchairs because the
            gate at the dog play area is too narrow, the dog-wash spray is too high, and
            the force required to operate the faucet interferes with accessibility for
            persons with certain disabilities.

      r.    There are no accessible parking spaces with electrical conduits and boxes
            for electric vehicle charging stations for persons who use wheelchairs.

      s.    In individual units, the doors to the powder room are not accessible to
            persons who use wheelchairs because they are too narrow.

      t.    In individual units, bathrooms lack adequate clear floor space or have toilets
            too close to the side wall for maneuvering by persons who use wheelchairs.

      u.    In individual units, the kitchen sink lacks adequate clear floor space for
            maneuvering by persons who use wheelchairs.

      v.    In individual units, closets are not accessible because the closet door



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                       openings are not wide enough.

               w.      In individual units, the balcony thresholds are not accessible to persons who
                       use wheelchairs because they are too high.

       37.     In light of the inaccessible conditions identified in paragraph 36, above, Toll Brothers

failed to design and construct 10 Provost in accordance with the Fair Housing Act’s accessibility

requirements set out at 42 U.S.C. § 3604(f)(3)(C). In addition, Toll Brothers failed to comply with

applicable State and local design and construction provisions, including the Uniform Construction

Code, Chapter 23 of Title 5 of the New Jersey Administrative Code, in designing and constructing 10

Provost.

                               OTHER MULTIFAMILY PROPERTIES

       38.     Defendants Toll Brothers, directly and/or acting through affiliates, subsidiaries, or

entities that it owns and/or controls have participated in the design and construction of other covered

multifamily properties including, but not limited to, Emerson at Edge on the Hudson, 203 Legend

Drive, in Sleepy Hollow, New York (“Emerson”); 160 Morgan Street in Jersey City, New Jersey

(“Morgan at Provost Square”); 527 Old Bridge Turnpike in East Brunswick, New Jersey

(“Kensington Place”); 900 Wessex Place in Princeton, New Jersey (“The Mews at Princeton

Junction”); 45 North Main Street in Phoenixville, Pennsylvania (“The Point at Phoenixville”); 275

2nd Avenue in Needham, Massachusetts (“The Kendrick”); 2150 Astoria Circle in Herndon, Virginia

(“Dulles Greene”); 1011 1st Street, SE and 200 K Street, NE in Washington, D.C. (“Parc Riverside

East & West” and “Union Place,” respectively). Defendants Toll Brothers, Toll Brothers Realty

Trust, and GreenbergFarrow’s pattern or practice of failing to design and construct dwellings and

public and common-use areas in compliance with the FHA, as alleged herein, may extend to these

other multifamily properties and, absent injunctive relief, to other multifamily properties that are

currently being designed and constructed.



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       39.     Redressing the effects of the pattern or practice of non-compliance with the FHA by

defendants requires, among other things, retrofits at all of the buildings at issue in this action.

                                                COUNT 1
                                              HUD CHARGE

       40.     Pursuant to 42 U.S.C. § 3610(a), the Secretary of the U.S. Department of Housing and

Urban Development (“HUD”), on behalf of Complainant Assistant Secretary for Fair Housing and

Equal Opportunity (the “Complainant”), filed a timely complaint of discrimination on the basis of

disability discrimination against Toll Brothers, Toll Land XIII Limited Partner, Lendlease LMB,

GreenbergFarrow, 51 North 8th Street L.P., and North8 Condominium Association, Inc. with HUD.

       41.     Pursuant to 42 U.S.C. § 3610, the Secretary of HUD conducted and completed an

investigation of Complainant’s complaint, and prepared an investigative report regarding the

complaint of discrimination.

       42.     Based upon the information gathered in the investigation, the Secretary, pursuant to 42

U.S.C. § 3610(g)(1), determined that reasonable cause existed to believe that a discriminatory

housing practice occurred.

       43.     Therefore, on September 3, 2019, the Secretary of HUD issued a charge of

discrimination, attached to this Complaint as Exhibit A (the “HUD Charge”), against the defendants

listed in paragraph 40 (the “Respondents”), alleging that defendant Respondents designed and

constructed North 8th in a manner not readily accessible to and useable by persons with disabilities,

as required by 42 U.S.C. § 3604(f)(3)(C).

       44.     Respondents timely elected to proceed in federal court with respect to the claims

raised in the HUD Charge pursuant to 42 U.S.C. § 3612.

       45.     On September 26, 2019, the Secretary of HUD authorized the Attorney General to

commence a civil action, pursuant to 42 U.S.C. § 3612(o).



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       46.     Thereafter, Respondents and the United States entered into tolling agreements that

ultimately extended the United States’ time to file an action asserting the claims raised in the HUD

Charge until June 18, 2024.

       47.     By the actions and statements referred to in the foregoing paragraphs, Complainant

has been injured by the following discriminatory housing practices:

               a.      Toll Brothers, Toll Land XIII Limited Partner, Lendlease LMB,
                       GreenbergFarrow, and 51 North 8th Street L.P. discriminated in the sale or
                       rental of, or otherwise made unavailable or denied, dwellings to persons
                       with disabilities and others by failing to design and construct North 8th in
                       accordance with 42 U.S.C. § 3604(f)(3), in violation of 42 U.S.C. §
                       3604(f)(1) and 24 C.F.R. § 100.202(a); and

               b.      Toll Brothers, Toll Land XIII Limited Partner, Lendlease LMB,
                       GreenbergFarrow, and 51 North 8th Street L.P. discriminated in the terms,
                       conditions, or privileges of sale or rental of dwellings, or in the provisions
                       of services or facilities in connection with such dwellings because of
                       disability by failing to design and construct North 8th in accordance with
                       42 U.S.C. § 3604(f)(3), in violation of 42 U.S.C. §3604(f)(2) and 24 C.F.R.
                       § 100.202(b).

                                               COUNT 2
                                 OTHER FAIR HOUSING ACT CLAIMS

       48.     The United States re-alleges and incorporates by reference the allegations set forth in

paragraphs 1–47 above.

       49.     Defendants have discriminated against persons with disabilities by designing and

constructing multifamily buildings that qualify as “covered multifamily dwellings” in a manner that

is not readily accessible to or useable by persons with disabilities, as required by 42 U.S.C.

§ 3604(f)(3)(C). This is true not just in the Inspected Properties, but across the portfolio of covered

multifamily dwellings in which defendants participated in the design and construction. Defendants

have failed to design and construct these buildings in such a matter that:

               a.      the public use and common use portions of the dwellings are readily
                       accessible to and useable by persons with disabilities;



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               b.     all doors designed to allow passage into and within the dwellings are
                      sufficiently wide to allow passage by persons who use wheelchairs for
                      mobility; and

               c.     all premises within such dwellings contain the following features of
                      adaptive design:

                      (i)     an accessible route into and through the dwelling;

                      (ii)    light switches, electrical outlets, thermostats, and/or other
                              environmental controls in accessible locations;

                      (iii)   reinforcements in bathroom walls to allow later installation of grab
                              bars; and

                      (iv)    useable kitchens and bathrooms, such that an individual using a
                              wheelchair can maneuver about the space.

       50.     Each of the defendants, through the actions and conduct referred to in the preceding

paragraphs, have:

               a.     Discriminated in the sale or rental of, or otherwise made unavailable or
                      denied, dwellings to buyers or renters because of a disability, in violation of
                      42 U.S.C. § 3604(f)(1) and 24 C.F.R. § 100.202(a);

               b.     Discriminated against persons in the terms, conditions, or privileges of the
                      sale or rental of a dwelling, or in the provision of services or facilities in
                      connection with a dwelling, because of a disability, in violation of 42 U.S.C.
                      § 3604(f)(2) and 24 C.F.R. § 100.202(b); and

               c.     Failed to design and construct dwellings in compliance with the
                      accessibility and adaptability features mandated by 42 U.S.C.
                      § 3604(f)(3)(C), and 24 C.F.R. § 100.205.

       51.     This conduct constitutes:

               a.     A pattern or practice of resistance to the full enjoyment of rights granted by
                      the Fair Housing Act, 42 U.S.C. §§ 3601-3619; and

               b.     A denial to a group of persons of rights granted by the Act, 42 U.S.C.
                      §§ 3601-3619, which denial raises an issue of general public importance.

       52.     Persons who may have been the victims of defendants’ discriminatory housing

practices are aggrieved persons under 42 U.S.C. § 3602(i), and may have suffered injuries as a result

of defendants’ conduct described above.


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       53.      Defendants’ discriminatory actions and conduct described above were intentional,

willful, and taken in disregard for the rights of others.

                                            Prayer for Relief

       WHEREFORE, the United States prays that the Court enter an order that:

       a. Declares that the conduct, policies, and practices of defendants, as alleged herein,

violate the Fair Housing Act;

       b. Enjoins defendants and their employees, agents, officers, successors, and all other

persons in active concert or participation with any of them, from:

           i.   Failing or refusing to bring the dwelling units and public use and common use areas at
                covered multifamily housing complexes that they have designed and constructed into
                compliance with 42 U.S.C. § 3604(f)(3)(C), and 24 C.F.R. § 100.205;

          ii.   Failing or refusing to take such affirmative steps as may be necessary to restore, as
                nearly as practicable, persons harmed by their unlawful practices to the position they
                would have been in but for the discriminatory conduct;

         iii.   Designing and/or constructing any covered multifamily dwellings in the future that do
                not contain the accessibility and adaptability features required by 42 U.S.C.
                § 3604(f)(3)(C), and 24 C.F.R. § 100.205; and

         iv.    Failing or refusing to conduct a compliance survey at covered multifamily
                housing complexes that they have designed and constructed to determine whether
                the retrofits ordered in sub-paragraph (i) above were made properly;

       c. Enjoins defendants and the Rule 19 defendant from engaging in conduct that impedes

any retrofits required to bring the subject properties, including covered multifamily dwelling

units and public and common use areas, into compliance with the FHA in a prompt and efficient

manner while minimizing inconvenience to the residents and visitors at the properties;

       d. Awards appropriate monetary damages, pursuant to 42 U.S.C. § 3614(d)(1)(B), to

each person harmed by defendants’ discriminatory conduct and practices; and




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